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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 18-cr-80160-DIMITROULEAS


  UNITED STATES OF AMERICA

  v.

  CLAUDIA PATRICIA DIAZ GUILLEN,

                 Defendant.
  _____________________________________/

                           NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that MARISSEL DESCALZO enters her

  appearance as counsel for Defendant CLAUDIA PATRICIA DIAZ GUILLEN.

  Undersigned counsel request that copies of all papers, pleadings, and other

  correspondence in this case be directed to Marissel Descalzo.

  Dated: May 16, 2022.

                                        Respectfully submitted,

                                        TACHE, BRONIS AND DESCALZO, P.A.
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                                        Miami, Florida 33131
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                                        By: /s/ Marissel Descalzo
                                               Marissel Descalzo, Esq.
                                               Florida Bar No. 669318
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                                              service@tachebronis.com
                                              Counsel for Claudia Diaz Guillen




                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing document

  has been filed via electronic mail with the Clerk of the Court by using CM/ECF

  System which will send a notice of electronic filing to all attorneys who have made

  an appearance on this 16th day of May, 2022.


                                        By: /s/ Marissel Descalzo
                                               Marissel Descalzo, Esq.




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